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 6
     Attorneys for Plaintiff
 7   ALTAIR LOGIX LLC, a Texas limited liability company
 8
                        UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
                                                  PATENT
11   ALTAIR LOGIX LLC,
12                                                Case No. ______________
                        Plaintiff,
13      v.                                        ORIGINAL COMPLAINT FOR
14                                                PATENT INFRINGEMENT
     QNAP INC.,                                   AGAINST QNAP INC.
15

16                      Defendant.                DEMAND FOR JURY TRIAL
17           Plaintiff Altair Logix LLC files this Original Complaint for Patent
18
     Infringement against QNAP Inc., and would respectfully show the Court as
19

20   follows:
21
                                     I. THE PARTIES
22
             1.   Plaintiff Altair Logix LLC (“Altair Logix” or “Plaintiff”) is a Texas
23

24   limited liability company with its principal place of business at 15922 Eldorado
25
     Pkwy, Suite 500 #1513, Frisco, TX 75035.
26

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     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
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 1         2.     On information and belief, Defendant QNAP Inc. (“Defendant”) is a
 2
     corporation organized and existing under the laws of California, with a place of
 3

 4   business at 168 University Parkway, Pomona, CA 91768.

 5                          II. JURISDICTION AND VENUE
 6
           3.     This action arises under the patent laws of the United States, Title 35
 7

 8   of the United States Code. This Court has subject matter jurisdiction of such

 9   action under 28 U.S.C. §§ 1331 and 1338(a).
10
           4.     On information and belief, Defendant is subject to this Court’s
11

12   specific and general personal jurisdiction, pursuant to due process and the
13   California Long-Arm Statute, due at least to its business in this forum, including at
14
     least a portion of the infringements alleged herein. Furthermore, Defendant is
15

16   subject to this Court’s specific and general personal jurisdiction because Defendant
17   has a place of business within this District and is a California Corporation.
18
           5.     Without limitation, on information and belief, within this State and
19

20   this District, Defendant has used the patented inventions thereby committing, and
21   continuing to commit, acts of patent infringement alleged herein. In addition, on
22
     information and belief, Defendant has derived revenues from its infringing acts
23

24   occurring within California and this District. Further, on information and belief,
25
     Defendant is subject to the Court’s general jurisdiction, including from regularly
26
     doing or soliciting business, engaging in other persistent courses of conduct, and
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28   deriving substantial revenue from goods and services provided to persons or
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 1   entities in California and this District.     Further, on information and belief,
 2
     Defendant is subject to the Court’s personal jurisdiction at least due to its sale of
 3

 4   products and/or services within California and this District.        Defendant has

 5   committed such purposeful acts and/or transactions in California and this District
 6
     such that it reasonably should know and expect that it could be haled into this
 7

 8   Court as a consequence of such activity.

 9           6.   Venue is proper in this district under 28 U.S.C. § 1400(b). On
10
     information and belief, Defendant has a place of business within this District and is
11

12   a California Corporation. On information and belief, from and within this District
13   Defendant has committed at least a portion of the infringements at issue in this
14
     case.
15

16           7.    For these reasons, personal jurisdiction exists and venue is proper in
17   this Court under 28 U.S.C. § 1400(b).
18
                           III. COUNT I
19   (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 6,289,434)
20
             8.   Plaintiff incorporates the above paragraphs herein by reference.
21

22
             9.   On September 11, 2001, United States Patent No. 6,289,434 (“the

23   ‘434 Patent”) was duly and legally issued by the United States Patent and
24
     Trademark Office.     The application leading to the ‘434 patent was filed on
25

26   February 27, 1998. (Ex. A at cover).

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 1         10.    The ‘434 Patent is titled “Apparatus and Method of Implementing
 2
     Systems on Silicon Using Dynamic-Adaptive Run-Time Reconfigurable Circuits
 3

 4   for Processing Multiple, Independent Data and Control Streams of Varying Rates.”

 5   A true and correct copy of the ‘434 Patent is attached hereto as Exhibit A and
 6
     incorporated herein by reference.
 7

 8         11.    Plaintiff is the assignee of all right, title and interest in the ‘434 patent,

 9   including all rights to enforce and prosecute actions for infringement and to collect
10
     damages for all relevant times against infringers of the ‘434 Patent. Accordingly,
11

12   Plaintiff possesses the exclusive right and standing to prosecute the present action
13   for infringement of the ‘434 Patent by Defendant.
14
           12.    The invention in the ‘434 Patent relates to the field of runtime
15

16   reconfigurable dynamic-adaptive digital circuits which can implement a myriad of
17   digital processing functions related to systems control, digital signal processing,
18
     communications, image processing, speech and voice recognition or synthesis,
19

20   three-dimensional graphics rendering, and video processing. (Ex. A at col. 1:32-
21   38). The object of the invention is to provide a new method and apparatus for
22
     implementing systems on silicon or other chip material which will enable the user
23

24   a means for achieving the performance of fixed-function implementations at a
25
     lower cost. (Id. at col. 2:64 – col. 3:1).
26
           13.    The most common method of implementing various functions on an
27

28   integrated circuit is by specifically designing the function or functions to be
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 1   performed by placing on silicon an interconnected group of digital circuits in a
 2
     non-modifiable manner (hard-wired or fixed function implementation). (Id. at col.
 3

 4   1:42-47). These circuits are designed to provide the fastest possible operation of

 5   the circuit in the least amount of silicon area. (Id. at col. 1:47-49). In general, these
 6
     circuits are made up of an interconnection of various amounts of random-access
 7

 8   memory and logic circuits. (Id. at col. 1:49-51). Complex systems on silicon are

 9   broken up into separate blocks and each block is designed separately to only
10
     perform the function that it was intended to do. (Id. at col. 1:51-54). Each block
11

12   has to be individually tested and validated, and then the whole system has to be
13   tested to make sure that the constituent parts work together. (Id. at col. 1:54-56).
14
     This process is becoming increasingly complex as we move into future generations
15

16   of single-chip system implementations.             (Id. at col. 1:57-59).       Systems
17   implemented in this way generally tend to be the highest performing systems since
18
     each block in the system has been individually tuned to provide the expected level
19

20   of performance. (Id. at col. 1:59-62). This method of implementation may be the
21   smallest (cheapest in terms of silicon area) method when compared to three other
22
     distinct ways of implementing such systems. (Id. at col. 1:62-65). Each of the
23

24   other three have their problems and generally do not tend to be the most cost-
25
     effective solution. (Id. at col. 1:65-67).
26
           14.    The first way is implemented in software using a microprocessor and
27

28   associated computing system, which can be used to functionally implement any
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 1   system. (Id. at col. 2:1-2). However, such systems would not be able to deliver
 2
     real-time performance in a cost-effective manner for the class of applications that
 3

 4   was described above.       (Id. at col. 2:3-5). Their use is best for modeling the

 5   subsequent hard-wired/fixed-function system before considerable design effort is
 6
     put into the system design. (Id. at col. 2:5-8).
 7

 8         15.    The second way of implementing such systems is by using an

 9   ordinary digital signal processor (DSP).        (Id. at col. 2:9-10).   This class of
10
     computing machines is useful for real-time processing of certain speech, audio,
11

12   video and image processing problems and in certain control functions. (Id. at col.
13   2:10-13).   However, they are not cost-effective when it comes to performing
14
     certain real time tasks which do not have a high degree of parallelism in them or
15

16   tasks that require multiple parallel threads of operation such as three-dimensional
17   graphics. (Id. at col. 2:13-17).
18
           16.    The third way of implementing such systems is by using field
19

20   programmable gate arrays (FPGA). (Id. at col. 2:18-19). These devices are made
21   up of a two-dimensional array of fine-grained logic and storage elements which
22
     can be connected together in the field by downloading a configuration stream
23

24   which essentially routes signals between these elements. (Id. at col. 2:19-23). This
25
     routing of the data is performed bypass-transistor logic. (Id. at col. 2:24-25).
26
     FPGAs are by far the most flexible of the three methods mentioned. (Id. at col.
27

28   2:25-26). The problem with trying to implement complex real-time systems with
                                               -6-
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 1   FPGAs is that although there is a greater flexibility for optimizing the silicon usage
 2
     in such devices, the designer has to trade it off for increase in cost and decrease in
 3

 4   performance. (Id. at col. 2:26-30). The performance may (in some cases) be

 5   increased considerably at a significant cost, but still would not match the
 6
     performance of hard-wired fixed function devices. (Id. at col. 2:30-33).
 7

 8          17.    These three ways do not reduce the cost or increase the performance

 9   over fixed-function systems. (Id. at col. 2:35-37). In terms of performance, fixed-
10
     function systems still outperform the three ways for the same cost. (Id. at col.
11

12   2:37-39).
13          18.    The three systems can theoretically reduce cost by removing
14
     redundancy from the system. (Id. at col. 2:40-41). Redundancy is removed by re-
15

16   using computational blocks and memory. (Id. at col. 2:41-42). The only problem
17   is that these systems themselves are increasingly complex, and therefore, their
18
     computational density when compared with fixed-function devices is very high.
19

20   (Id. at col. 2:42-45).
21          19.    Most systems on silicon are built up of complex blocks of functions
22
     that have varying data bandwidth and computational requirements. (Id. at col.
23

24   2:46-48).    As data and control information moves through the system, the
25
     processing bandwidth varies enormously. (Id. at col. 2:48-50). Regardless of the
26
     fact that the bandwidth varies, fixed-function systems have logic blocks that
27

28   exhibit a “temporal redundancy” that can be exploited to drastically reduce the cost
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 1   of the system. (Id. at col. 2:50-53). This is true, because in fixed function
 2
     implementations all possible functional requirements of the necessary data
 3

 4   processing must be implemented on the silicon regardless of the final application

 5   of the device or the nature of the data to be processed. (Id. at col. 2:53-57).
 6
     Therefore, if a fixed function device must adaptively process data, then it must
 7

 8   commit silicon resources to process all possible flavors of the data. (Id. at col.

 9   2:58-60). Furthermore, state-variable storage in all fixed function systems are
10
     implemented using area inefficient storage elements such as latches and flip-flops.
11

12   (Id. at col. 2:60-63).
13          20.    The inventors therefore sought to provide a new apparatus for
14
     implementing systems on a chip that will enable the user to achieve performance of
15

16   fixed-function implementation at a lower cost. (Id. at col. 2:64 – col. 3:1). The
17   lower cost is achieved by removing redundancy from the system. (Id. at col. 3:1-
18
     2). The redundancy is removed by re-using groups of computational and storage
19

20   elements in different configurations. (Id. at col. 3:2-4). The cost is further reduced
21   by employing only static or dynamic ram as a means for holding the state of the
22
     system. (Id. at col. 3:4-6). This invention provides a way for effectively adapting
23

24   the configuration of the circuit to varying input data and processing requirements.
25
     (Id. at col. 3:6-8). All of this reconfiguration can take place dynamically in run-
26
     time without any degradation of performance over fixed-function implementations.
27

28   (Id. at col. 3:8-11).
                                              -8-
     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
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 1         21.    The present invention is therefore an apparatus for adaptively
 2
     dynamically reconfiguring groups of computations and storage elements in run-
 3

 4   time to process multiple separate streams of data and control at varying rates. (Id.

 5   at col. 3:14-18).   The ‘434 patent refers to the aggregate of the dynamically
 6
     reconfigurable computational and storage elements as a “media processing unit.”
 7

 8         22.    The claimed apparatus has addressable memory for storing data and a

 9   plurality of instructions that can be provided through a plurality of inputs/outputs
10
     that is couple to the input/output of a plurality of media processing units. (Id. at
11

12   col. 55:21-30). The media processing unit comprises a multiplier, an arithmetic
13   unit, and arithmetic logic unit and a bit manipulation unit. (Id. at col. 55:31 – col.
14
     56:20). The ‘434 patent provides examples to explain each of the parts of the
15

16   media processing unit. (Id. at col. 16:27-61 (multiplier and adder); Id. at col. 16:62
17   – col. 17:1-9 (arithmetic logic unit); and Id. at col. 17:10 – col. 17:43 (bit
18
     manipulation unit)). Each of the parts has a data input coupled to the media
19

20   processing unit input/output, an instruction input coupled to the mediate processing
21   unit input/output, and a data output coupled to the mediate processing unit
22
     input/output. (Id. at col. 55:31 – col. 56:20). Furthermore, the arithmetic logic
23

24   unit must be capable of operating concurrently with either the multiplier or
25
     arithmetic unit. (Id. at col. 56:6-12). And the bit manipulation unit must be
26
     capable of operating concurrently with the arithmetic logic unit and at least either
27

28   the multiplier or the arithmetic unit. (Id. at col. 56:13-20). Each of the plurality of
                                              -9-
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 1    media processing units must be capable of performing an operating simultaneously
 2
      with the performance of other operations by other media processing units. (Id. at
 3

 4    col. 56:21-24). An operation comprises the media processing unit receiving an

 5    instruction and data from memory, processing the data responsive to the instruction
 6
      to produce a result, and providing the result to the media processor input/output.
 7

 8    (Id. at col. 56:26-33).

 9          23.    An exemplary block diagram of the claimed systems is shown in
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      Figure 3 of the ‘434 patent:
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      ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
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 1    (Id. at Fig. 3). Exemplary architecture and coding for the apparatus is disclosed in
 2
      the ‘599 patent. (E.g., id. at col. 16:15 – col. 52:20; Figs. 9 – 106).
 3

 4          24.    As further demonstrated by the prosecution history of the ‘434 patent,

 5    the claimed invention in the ‘434 patent was unconventional. Claim 1 of the ‘434
 6
      patent was an originally filed claim that issued without any amendment. There
 7

 8    was no rejection in the prosecution history contending that claim 1 was anticipated

 9    by any prior art.
10
            25.    A key element behind the invention is one of reconfigurability and
11

12    reusability. (Id. at col. 13:26-27). Each apparatus is therefore made up of very
13    high-speed core elements that on a pipelined basis can be configured to form a
14
      more complex function. (Id. at col. 13:27-30). This leads to a lower gate count,
15

16    thereby giving a smaller die size and ultimately a lower cost. (Id. at col. 13:30-31).
17    Since the apparatuses are virtually identical to each other, writing software
18
      becomes very easy. (Id. at col. 13:32-33). The RISC-like nature of each of the
19

20    media processing units also allows for a consistent hardware platform for simple
21    operating system and driver development. (Id. at col. 13:33-36). Any one of the
22
      media processing units can take on a supervisory role and act as a central controller
23

24    if necessary. (Id. at col. 13:36-37). This can be very useful in set top applications
25
      where a controlling CPU may not be necessary, further reducing system cost. (Id.
26
      at col. 13:37-40). The claimed apparatus is therefore an unconventional way of
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 1    implementing processors that can achieve the performance of fixed-function
 2
      implementations at a lower cost. (Id. at col. 2:64 – col. 3:11).
 3

 4          26.    Direct Infringement. Upon information and belief, Defendant has

 5    been directly infringing claims of the ‘434 patent in California and this District,
 6
      and elsewhere in the United States, by making, using, selling, and/or offering for
 7

 8    sale an apparatus for processing data for media processing that satisfies each and

 9    every limitation of at least claim 1, including without limitation the TS-431U
10
      (“Accused Instrumentality”). (E.g., https://falnic.com/pdf/qnap/TS-431U.pdf).
11

12          27.    The Accused Instrumentality comprises an addressable memory (e.g.,
13    memory system of the Accused Instrumentality) for storing the data, and a plurality
14
      of instructions, and having a plurality of input/outputs, each said input/output for
15

16    providing and receiving at least one selected from the data and the instructions. As
17    shown below, the Accused Instrumentality comprises a memory system which is
18
      coupled to multiple ARM processors through multiple internal inputs/outputs. The
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20    memory system provides instructions and stored data for processing and receives
21    processed data.
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      (E.g., https://falnic.com/pdf/qnap/TS-431U.pdf).
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      (E.g., https://falnic.com/pdf/qnap/TS-431U.pdf).
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      (E.g., https://images-eu.ssl-images-amazon.com/images/I/C1UCGLbhKrS.pdf).
14

15
            28.   The Accused Instrumentality comprises a plurality of media

16    processing units (e.g., multiple ARM cortex-A9 processors), each media
17
      processing unit having an input/output coupled to at least one of the addressable
18

19    memory input/outputs. As shown below, the Accused Instrumentality comprises a

20    dual ARM cortex-A9 core processor, each processor comprises a NEON media
21
      coprocessor and acts as a media processing unit. The ARM processors are coupled
22

23    to the memory system. The processors receive instructions and data from the

24    memory system by multiple internal inputs and provide processed data to the
25
      memory system by multiple internal outputs.
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      (E.g., https://falnic.com/pdf/qnap/TS-431U.pdf).
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      (http://infocenter.arm.com/help/topic/com.arm.doc.ddi0388f/DDI0388F_cortex_a9
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      _r2p2_trm.pdf).
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18          29.   The Accused Instrumentality comprises media processors with each
19
      processor comprising a multiplier (e.g., an Integer MUL or FP MUL) having a data
20
      input coupled to the media processing unit input/output, an instruction input
21

22    coupled to the media processing unit input/output, and a data output coupled to the
23
      media processing unit input/output. As shown below, the Accused Instrumentality
24
      comprises dual ARM cortex-A9 core processor, each core comprises a NEON
25

26    media coprocessor and acts as a media processing unit. NEON media coprocessor
27
      comprises a multiplier which is coupled to the inputs/outputs of the processor.
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 1    Upon information and belief, the multiplier comprises a data input, an instruction
 2
      input, and a data output coupled to the input/output of the processor.
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20    (E.g., https://falnic.com/pdf/qnap/TS-431U.pdf).
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      (e.g.,http://infocenter.arm.com/help/topic/com.arm.doc.ddi0388f/DDI0388F_corte
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      x_a9_r2p2_trm.pdf).
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25    (e.g.,http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Developmen
      t.pdf).
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      (E.g.,http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Developmen
14
      t.pdf).
15

16              30.   The Accused Instrumentality comprises media processors with each
17
      processor comprising an arithmetic unit (e.g., an FP ADD) having a data input
18
      coupled to the media processing unit input/output, an instruction input coupled to
19

20    the media processing unit input/output, and a data output coupled to the media
21
      processing unit input/output.     As shown below, the Accused Instrumentality
22
      comprises a dual ARM cortex-A9 core processor, each core comprises a NEON
23

24    media coprocessor and acts as a media processing unit. NEON media coprocessor
25
      comprises an arithmetic unit which is coupled to the inputs/outputs of the
26
      processor. Upon information and belief, the arithmetic unit comprises a data input,
27

28    an instruction input, and a data output coupled to the input/output of the processor.
                                              - 20 -
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11    (E.g.,http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Developmen
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      t.pdf).
13
                31.   The Accused Instrumentality comprises media processors with each
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15    processor comprising an arithmetic logic unit (e.g., an ALU) having a data input
16
      coupled to the media processing unit input/output, an instruction input coupled to
17
      the media processing unit input/output, and a data output coupled to the media
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19    processing unit input/output, capable of operating concurrently with at least one
20
      selected from the multiplier (e.g., an Integer MUL or FP MUL) and arithmetic unit
21
      (e.g., a FP ADD). As shown below, the Accused Instrumentality comprises a dual
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23    ARM cortex-A9 core processor, each core comprises a NEON media coprocessor
24
      and acts as a media processing unit. NEON media coprocessor comprises an
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26
      arithmetic logical unit which is coupled to the inputs/outputs of the processor.

27    Upon information and belief, the arithmetic logical unit comprises a data input, an
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                                              - 21 -
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 1    instruction input, and a data output coupled to the input/output of the processor.
 2
      Upon information and belief, the arithmetic logical unit (e.g., the Integer ALU) is
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 4    capable of operating concurrently with at least one selected from the multiplier

 5    (e.g., the Integer MUL or FP MUL) and arithmetic unit (e.g., the FP ADD).
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17    (E.g.,http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Developmen
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      t.pdf).
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20              32.   The Accused Instrumentality comprises media processors with each
21    processor comprising a bit manipulation unit (e.g., an Integer Shift unit) having a
22
      data input coupled to the media processing unit input/output, an instruction input
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24    coupled to the media processing unit input/output, and a data output coupled to the
25    media processing unit input/output, capable of operating concurrently with the
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      arithmetic logic unit (e.g., an Integer ALU) and at least one selected from the
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28    multiplier (e.g., an Integer MUL or FP MUL) and arithmetic unit (e.g., a FP ADD).
                                              - 22 -
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 1    As shown below, the Accused Instrumentality comprises a dual ARM cortex-A9
 2
      core processor, each core comprising a NEON media coprocessor that acts as a
 3

 4    media processing unit. The NEON media coprocessor comprises an integer shift

 5    unit (i.e., bit manipulation unit) which is coupled to the inputs/outputs of the
 6
      processor.    Upon information and belief, the integer shift unit (i.e., bit
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 8    manipulation unit) comprises a data input, an instruction input, and a data output

 9    coupled to the input/output of the processor. Upon information and belief, the
10
      integer shift unit (i.e., bit manipulation unit) is capable of operating concurrently
11

12    with the arithmetic logic unit (e.g., the Integer ALU) and at least one selected from
13    the multiplier (e.g., the Integer MUL or FP MUL) and arithmetic unit (e.g., the FP
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      ADD).
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      (E.g.,http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Developmen
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28    t.pdf).
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 1          33.   The Accused Instrumentality comprises a plurality of media
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      processors (e.g., each core of the dual ARM cortex-A9 core processors) for
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 4    performing at least one operation, simultaneously with the performance of other

 5    operations by other media processing units (e.g., another ARM cortex-A9
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      processor on the same chip).
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      (http://infocenter.arm.com/help/topic/com.arm.doc.ddi0388f/DDI0388F_cortex_a9
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26    _r2p2_trm.pdf).
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 8    (E.g.,http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Developmen
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      t.pdf).
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11              34.   The Accused Instrumentality comprises a plurality of media

12    processors (e.g., ARM cortex-A9 processors), each processor receiving at the
13
      media processor input/output an instruction and data from the memory, and
14

15    processing the data responsive to the instruction received to produce at least one

16    result. As shown below, each ARM cortex-A9 core comprises a NEON media
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      coprocessor which receives instructions and data from memory and processes the
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19    data responsive to the instruction received in order to produce a result.

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      (E.g., https://falnic.com/pdf/qnap/TS-431U.pdf).
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      (E.g.,http://infocenter.arm.com/help/topic/com.arm.doc.ddi0388f/DDI0388F_corte
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      x_a9_r2p2_trm.pdf).
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 1    (E.g.,http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Developmen
 2
      t.pdf).
 3

 4              35.   The Accused Instrumentality comprises a plurality of media

 5    processors (e.g., ARM cortex-A9 cores), each processor providing at least one of
 6
      the at least one result at the media processor input/output. (Supra ¶34).
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24    (E.g., https://falnic.com/pdf/qnap/TS-431U.pdf).
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      (E.g.,
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      http://infocenter.arm.com/help/topic/com.arm.doc.ddi0388f/DDI0388F_cortex_a9_
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18    r2p2_trm.pdf).
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14    (http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Development.pdf
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      ).
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            36.    Plaintiff has been damaged as a result of Defendant’s infringing
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18    conduct. Defendant is thus liable to Plaintiff for damages in an amount that
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      adequately compensates Plaintiff for such Defendant’s infringement of the ‘434
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      patent, i.e., in an amount that by law cannot be less than would constitute a

22    reasonable royalty for the use of the patented technology, together with interest and
23
      costs as fixed by this Court under 35 U.S.C. § 284.
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25          37.    On information and belief, Defendant has had at least constructive

26    notice of the ‘434 patent by operation of law, and there are no marking
27
      requirements that have not been complied with.
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 1                              IV. PRAYER FOR RELIEF
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            WHEREFORE, Plaintiff respectfully requests that the Court find in its favor
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 4    and against Defendant, and that the Court grant Plaintiff the following relief:

 5          a.     Judgment that one or more claims of United States Patent No.
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                   6,289,434 have been infringed, either literally and/or under the
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 8                 doctrine of equivalents, by Defendant;

 9          b.     Judgment that Defendant account for and pay to Plaintiff all damages
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                   to and costs incurred by Plaintiff because of Defendant’s infringing
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12                 activities and other conduct complained of herein, and an accounting
13                 of all infringements and damages not presented at trial;
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            c.     That Plaintiff be granted pre-judgment and post-judgment interest on
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16                 the damages caused by Defendant’s infringing activities and other
17                 conduct complained of herein;
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            d.     That Plaintiff be granted such other and further relief as the Court may
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20                 deem just and proper under the circumstances.
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 1                                       JURY DEMAND
 2
            Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a
 3

 4    trial by jury of any issues so triable by right.

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 6
      September 29, 2020                          By     /s/Steven W. Ritcheson
 7                                                       Steven W. Ritcheson, Esq.
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